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                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 PRESS ROBINSON, EDGAR CAGE,
 DOROTHY NAIRNE, EDWIN RENÉ                      Case No. 3:22-cv-00211
 SOULÉ, ALICE WASHINGTON, CLEE
 EARNEST LOWE, DAVANTE LEWIS,
 MARTHA DAVIS, AMBROSE SIMS,
 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE
 (“NAACP”) LOUISIANA STATE
 CONFERENCE, and POWER COALITION
 FOR EQUITY AND JUSTICE,

 Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity as
 Secretary of State for Louisiana,

 Defendant.

 EDWARD GALMON, SR., CIARA HART,                 Civil Action: 3:22-cv-00214
 NORRIS HENDERSON, and TRAMELLE
 HOWARD,

 Plaintiffs,

 v.

 R. KYLE ARDOIN, in his official capacity as
 Louisiana Secretary of State,

 Defendant.



                        MOTION TO WITHDRAW AS COUNSEL

        NOW INTO COURT, through undersigned counsel, comes Intervenor-Defendant, the

State of Louisiana, through Louisiana Attorney General Liz Murrill, who respectfully represents

that Shae McPhee (Bar Roll No. 38565) has ended his service with the Department of Justice,
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Office of Attorney General, and moves to withdraw Shae McPhee as counsel of record in this

matter and that he be removed from receiving notices filed in this matter effective from the date

of this filing.



                                            Respectfully submitted,

                                            LIZ MURRILL
                                            LOUISIANA ATTORNEY GENERAL




                                            ____________________
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2024 the foregoing motion was electronically filed with

the Clerk of Court via the Court's CM/ECF system, which provides notification of such filing to

all counsel of record by electronic means.

                                       s/ Carey T. Jones
                                       CAREY T. JONES
